






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00625-CR






Rodney Lynn Gillespie, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT

NO. 61145, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Rodney Lynn Gillespie was convicted of criminal mischief in the amount of more
than $20,000 but less than $100,000 and sentenced to confinement in prison for ten years.  His
court-appointed attorney filed a brief concluding that the appeal is frivolous and without merit.  The
brief meets the requirements of Anders v. California, 386 U.S. 738 (1967), by presenting
a&nbsp;professional evaluation of the record demonstrating why there are no arguable grounds
to&nbsp;be&nbsp;advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d
807&nbsp;(Tex.&nbsp;Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson&nbsp;v.&nbsp;State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d
137&nbsp;(Tex.&nbsp;Crim.&nbsp;App. 1969).  Gillespie's counsel certified that he sent Gillespie a copy of counsel's
brief by certified mail, return receipt requested, and advised Gillespie of his right to examine the
appellate record and to file a pro se brief.  Gillespie has not filed a response.

		We have reviewed the record and counsel's brief.  We agree that the appeal is
frivolous and without merit.  We find nothing in the record that might arguably support the appeal.
See Bledsoe v. State, 178 S.W.3d 824, 826-27 (Tex. Crim. App. 2005).

		The judgment of conviction is affirmed.  Counsel's motion to withdraw is granted.



						                                                                                     

						G. Alan Waldrop, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop 

Affirmed

Filed:   July 31, 2008

Do Not Publish


